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                            EXHIBIT 54




                                                                  Appx. 01036
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                                                                                                                                          Claim #152 Date Filed: 4/8/2020

 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of   Texas
                                                                                         (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                          04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  Hunter Mountain Trust
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               Hunter Mountain Trust                                                           See summary page
   creditor be sent?
                                 c/o E. P. Keiffer
                                 Name                                                                            Name
                                 Rochelle McCullough, LLP
    Federal Rule of              325 North St. Paul St., Suite 4500
    Bankruptcy Procedure         Number   Street                                                                 Number          Street
    (FRBP) 2002(g)               Dallas, TX 75201, United States
                                 City                                State                 ZIP Code              City                           State                  ZIP Code

                                 Contact phone      214-580-2525                                                 Contact phone       214.335.7969
                                 Contact email      pkeiffer@romclaw.com                                         Contact email       Jhonis@RandAdvisors.com
                                 (see summary page for notice party information)
                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim                      No
   amend one already
   filed?                        ✔ Yes.          Claim number on court claims registry (if known) 70                                      Filed on 04.02.2020
                                                                                                                                                  MM     /   DD   /    YYYY

5. Do you know if                       No
   anyone else has filed
   a proof of claim for          ✔ Yes. Who made the earlier filing?               John Honis
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                                                                      page 1

                                                                                                                                                        Appx. 01037
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ 60,298,739.00                              . Does this amount include interest or other charges?
                                                                                      No

                                                                                 ✔ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See attached Exhibit "A"


9. Is all or part of the claim        No
   secured?
                                  ✔ Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                             ✔ Other. Describe:              Common law and contractual setoff rights


                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $ 60,298,739.00
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                      No
    right of setoff?
                                  ✔ Yes. Identify the property: Common law and contractual setoff rights - See Exhibit “A”




 Official Form 410                                             Proof of Claim
                                                                                                                                                page 2

                                                                                                                                      Appx. 01038
       Case 3:21-cv-00881-X Document 138-54 Filed 07/14/23                                                                   Page 4 of 10 PageID 9620
12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $3,025* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/John M. Honis
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       John M. Honis
                                                             First name                             Middle name                            Last name

                                  Title                      Trustee for Hunter Mountain Trust
                                  Company                    Hunter Mountain Trust
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street




                                  Contact phone
                                                             City
                                                                                                                 ¨1¤}HV4$(         State

                                                                                                                                   Email
                                                                                                                                        _]«
                                                                                                                   1934054200408000000000063
                                                                                                                                                     ZIP Code




 Official Form 410                                                        Proof of Claim
                                                                                                                                                                    page 3

                                                                                                                                                         Appx. 01039
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                                      KCC ePOC Electronic Claim Filing Summary
                                For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
   Debtor:
          19-34054 - Highland Capital Management, L.P.
   District:
           Northern District of Texas, Dallas Division
   Creditor:                                                       Has Supporting Documentation:
           Hunter Mountain Trust                                         Yes, supporting documentation successfully uploaded
           c/o E. P. Keiffer                                       Related Document Statement:
           Rochelle McCullough, LLP
                                                                   Has Related Claim:
           325 North St. Paul St., Suite 4500
                                                                          Yes
           Dallas, TX, 75201                                       Related Claim Filed By:
           United States
                                                                          John Honis
           Phone:
                                                                   Filing Party:
           214-580-2525
                                                                           Authorized agent
           Phone 2:
           214.914.5625
           Fax:
           214.953.0185
          Email:
          pkeiffer@romclaw.com
   Disbursement/Notice Parties:
          Hunter Mountain Trust                                           John Honis, Trustee for Hunter Mountain Trust
          c/o John Honis                                                  87 Railroad Place - Suite 403
          Trustee for Hunter Mountain Trust
          87 Railroad Place - Suite 403                                   Saratoga Springs, NE, 12866
           Saratoga Springs, NE, 12866                                    United States
                                                                          Phone:
           United States
           Phone:                                                         214.335.7969
                                                                          Phone 2:
           214.335.7969
           Phone 2:                                                       214.335.7969
           214.335.7969                                                   Fax:
           Fax:                                                           214.335.7969
                                                                          E-mail:
           214.335.7969
           E-mail:                                                        Jhonis@RandAdvisors.com
           Jhonis@RandAdvisors.com
           DISBURSEMENT ADDRESS
   Other Names Used with Debtor:                                   Amends Claim:
                                                                          Yes - 70, 04.02.2020
                                                                   Acquired Claim:
                                                                          No
   Basis of Claim:                                                 Last 4 Digits:          Uniform Claim Identifier:
          See attached Exhibit "A"                                        No
   Total Amount of Claim:                                          Includes Interest or Charges:
          60,298,739.00                                                    Yes
   Has Priority Claim:                                             Priority Under:
           No
   Has Secured Claim:                                              Nature of Secured Amount:
         Yes: 60,298,739.00                                               Other
   Amount of 503(b)(9):                                                   Describe: Common law and contractual setoff rights
         No                                                        Value of Property:
   Based on Lease:                                                 Annual Interest Rate:
          No
                                                                   Arrearage Amount:
   Subject to Right of Setoff:
          Yes, Common law and contractual setoff rights - See      Basis for Perfection:
          Exhibit “A”
                                                                   Amount Unsecured:




                                                                                                             Appx. 01040
  Case 3:21-cv-00881-X Document 138-54 Filed 07/14/23            Page 6 of 10 PageID 9622
 Submitted By:
        John M. Honis on 08-Apr-2020 5:11:09 p.m. Eastern Time
 Title:
        Trustee for Hunter Mountain Trust
 Company:
        Hunter Mountain Trust
 Optional Signature Address:
        John M. Honis


        ,,

        Telephone Number:

        Email:




VN: DC0F7E8CE93D3AB2618D98389FC8E42B
                                                                             Appx. 01041
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                                       EXHIBIT “A”

        Hunter Mountain Trust (HMT) is the obligor under an original $63,000,000 Secured
Promissory Note that HMT entered into with Highland Capital Management, L.P. (the “Debtor”)
as payee on or after December 21, 2015 (the “Secured Contribution Note”) pursuant to the terms
and conditions of the Contribution Agreement of even date where HMT made a cash contribution
of $7,000,000 and issued the Secured Contribution Note for the balance of the $70,000,000
obligation detailed in the Contribution Agreement.

       Just prior to the Petition Date, as of September 30, 2020, HMT was obligated to the Debtor
in the amount of $56,873,209, with interest accruing thereafter with subsequently scheduled
principal payments until the Secured Contribution Note comes due by its terms.

       The amount of the claim stated on the proof of claim form ($60,298,739) is the maximum
balance due by HMT to Debtor per the amortization schedule attached hereto if the Priority
Distributions were timely made.

       Notwithstanding denoting this amount as the maximum, the indemnity protect HMT
from and against, any and all losses incurred or sustained by, or imposed upon it by virtue
of the Debtor’s failure to perform and such listed amount may necessarily increase over the
stated amount in the proof of claim.

       Pursuant to Section 6.02 of the Contribution Agreement (which caused the Secured
Contribution Note to be executed and the cash contribution to be made) the Debtor (identified as
the Partnership in the Contribution Agreement) agreed to indemnify HMT (identified as
Contributor in the Contribution Agreement) as follows:

       Section 6.02 Indemnification By the Partnership. Subject to the other terms and
       conditions of this Article VI, the Partnership shall indemnify and defend Contributor and
       its trustees, sponsors, administrators, grantors, officers, directors, managers, Affiliates,
       beneficiaries, shareholders, members, partners, successors and assigns (collectively, the
       “Contributor Indemnified Parties”) against, and shall hold the Contributor Indemnified
       Parties harmless from and against, any and all Losses incurred or sustained by, or imposed
       upon, any Contributor Indemnified Parties based upon, arising out of, with respect to or by
       reason of:

              (a) any inaccuracy in or breach of any of the representations or warranties of the
                  Partnership contained in this Agreement or any of the other agreements
                  contemplated hereby to which the Partnership is a party;

              (b) any breach or non-fulfillment of any covenant, agreement or obligation to be
                  performed by the Partnership pursuant to this Agreement or any of the other
                  agreements contemplated hereby to which the Partnership is a party; and




Exhibit “A”                                                                            Page 1 of 3

                                                                                     Appx. 01042
    Case 3:21-cv-00881-X Document 138-54 Filed 07/14/23                    Page 8 of 10 PageID 9624

                  (c) any and all actions, suits, proceedings, claims, demands and Losses incident to
                      any of the foregoing or incurred in attempting to oppose the imposition thereof,
                      or in enforcing this indemnity. [emphasis added]

While there are limitations on this indemnity, as detailed in Section 6.05, those limitations do not
affect HMT’s claim for indemnity for the Debtor’s existing or future failures to address its
obligation to make Priority Distributions to HMT as detailed first in the Third Amended and
Restated Agreement of Limited Partnership of Highland Capital Management, L.P. dated
December 21, 2015 attached to the Contribution Agreement (all of which were retained in the
Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital
Management, L.P. dated December 24, 2015 – referenced in the Debtor’s Schedule G):

           3.9 (b) Priority Distributions. Prior to the distribution of any amounts to Partners pursuant
           to Section 3.9(a), and notwithstanding any other provision in this Agreement to the
           contrary, the Partnership shall make the following distributions (“Priority Distributions”)
           pro-rata among the Class B Partners1 in accordance with their relative Percentage Interests:

                   (i) No later than March 31st of each calendar year, commencing March 31, 2017, an
                   amount equal to $1,600,000.00;

                   (ii) No later than March 31st of each year, commencing March 31, 2017, an amount
                   equal to three percent (3%) of the Partnership’s investment gain for the prior year,
                   as reflected in the Partnership’s books and records within ledger account number
                   90100 plus three percent (3%) of the gross realized investment gains for the prior
                   year of Highland Select Equity Fund, as reflected in its books and records; and

                   (iii) No later than March 31st of each year, commencing March 31, 2017, an amount
                   equal to ten percent (10%) of the Partnership’s Operating Cash Flow for the prior
                   year.

                   (iv) No later than December 24th of each year, commencing December 2016, an
                   amount equal to the aggregate annual principal and interest payments on the
                   Purchase Notes for the then current year.

           4.2 (e) Default on Priority Distributions. If the Partnership fails to timely pay Priority
           Distributions pursuant to Section 3.9(b), and the Partnership does not subsequently make
           such Priority Distribution within ninety days of its due date, the Class B Limited Partner
           may require the Partnership to liquidate publicly traded securities held by the Partnership
           or Highland Select Equity Master Fund, L.P., a Delaware limited partnership controlled by
           the Partnership; provided, however, that the General Partner may in its sole discretion elect
           instead to liquidate other non-publicly traded securities owned by the Partnership in order
           to satisfy the Partnership’s obligations under Section 3.9(b) and this Section 4.2(e). In
           either case, Affiliates of the General Partner shall have the right of first offer to purchase
           any securities liquidated under this Section 4.2(e).

1
    HMT is the sole Class B Partner


Exhibit “A”                                                                                 Page 2 of 3

                                                                                           Appx. 01043
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With regard to missed Priority Distributions and Priority Distributions that likely will not occur
hereinafter, HMT claims the maximum benefit available to it on account of the Indemnity
referenced in Section 6.02 of the Contribution Agreement, with regard to the Debtor’s obligation
to fund Priority Distributions per the Fourth Amended and Restated Agreement of Limited
Partnership, an “agreement or obligation to be performed by the Partnership pursuant to this
Agreement or any of the other agreements contemplated hereby to which the Partnership is a
party.”

        Pursuant to Section 6.05 (e) of the Contribution Agreement HMT’s remedy is subject to
the following restriction where Partnership is the Debtor and HMT is an Indemnified Party:

       (e) Subject to the limitations in this Section 6.05, any indemnification obligation of the
       Partnership under Section 6.02 shall not be payable to the Indemnified Party in cash, but
       shall instead be satisfied by a reduction in the principal balance of the Contribution Note
       for the amount of such indemnification obligation.

This provision of the Contribution Agreement, HMT, asserts, functionally sets up a contractual
right of set off as to any claim by the Debtor under the Secured Contribution Note in addition to
any common law right of set off which HMT may have as against any claims by the Debtor with
regard to the any obligations due under the Secured Contribution Note.

Complete copies of documents supporting this proof of claim are available from counsel for HMT
upon request.

HMT, prophylactically on account of the terms of the currently non-rejected Fourth Amended and
Restated Agreement of Limited Partnership of Highland Capital Management, L.P., amends this
claim with regard to the independent obligations of the Debtor under Section 3.9(b) of that
document, to fund HMT as the holder of Class B Limited Partnership Interests and Class C Limited
Partnership Interests in the amounts detailed therein as conditioned therein. HMT reserves the
right to file an additional or further amended claim regarding this independent obligation, should
the Fourth Amended and Restated Agreement of Limited Partnership of Highland Capital
Management, L.P., be rejected at some later date, pursuant to and consistent with ¶7 of the Order
(I) Establishing Bar Dates For Filing Claims And (Ii) Approving The Form And Manner Of Notice
Thereof [Docket No. 488].




Exhibit “A”                                                                           Page 3 of 3

                                                                                     Appx. 01044
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                                                                  Appx. 01045
